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                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA

DANIEL HANCHETT, as Personal
Representative of the Estate of Shannon
Hanchett, Deceased,

      Plaintiff,                          Case No. 24-CV-87-SLP

v.

SHERIFF OF CLEVELAND COUNTY,
et al.,

      Defendants.


              DEFENDANT DIANA MYLES-HENDERSON, LPC’S
               MOTION TO DISMISS AND BRIEF IN SUPPORT
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      COMES NOW Defendant Diana Myles-Henderson, LPC (“Defendant” or “LPC

Myles-Henderson”) and moves this Court to dismiss this action against them pursuant to

Fed. R. Civ. P. 12(b)(6) and the applicable statute of limitations. In support thereof,

Defendant respectfully shows the following:

                            STATEMENT OF THE CASE
1. On January 25, 2024, Michael Hanchett, as the Personal Representative of the Estate of

   Shannon Hanchett, filed a Petition alleging only a claim of deliberate indifference as to

   this Defendant related to Ms. Hanchett’s 10-day stay at Cleveland County Justice

   Center (“CCJC”). See Doc. 1 ¶¶ 254-257; 259.

2. Pursuant to the Licensed Professional Counselors Act, Licensed Professional

   Counselors are licensed to “prevent, diagnose, or treat mental, emotional or behavioral

   disorders or associated distress which interfere with mental health” and “conduct

   assessments or diagnoses for the purposes of establishing treatment goals and

   objectives,” among other things. Okla. Stat. Ann. tit. 59, § 1902(3).

3. Plaintiff claims Defendant LPC Myles-Henderson violated Shannon Hanchett’s

   constitutional right to receive adequate health care in violation of the Eighth and

   Fourteenth Amendments to the U.S. Constitution (via 42 U.S.C. § 1983). Id.

4. According to the allegations contained in Plaintiff’s Complaint, Ms. Hanchett began

   receiving medical care and treatment at CCJC on or about November 27, 2022, when

   the medical intake screening was started but was unable to be completed due to Ms.

   Hanchett’s refusal to cooperate. See Doc. 1, ¶¶ 20-23.




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5. Plaintiff alleges, during this medical intake screening, Ms. Hanchett only informed

   Danille Hay, LPN she suffered from lupus and bipolar disorder and refused to inform

   LPN Hay of any medications prescribed to her. See Doc. 1, ¶¶ 20-23.

6. Based on the allegations contained in Plaintiff’s Complaint, on November 30, 2022,

   LPC Myles-Henderson performed an assessment of Ms. Hanchett and, as a result,

   created and drafted a treatment plan that included placing Ms. Hanchett on suicide

   watch for her own protection “as she presented to be a threat to herself and others due

   to her defiance;” referring her to security; and referring her to higher-level medical

   personnel capable of treating the condition, psychiatrist Jawaun Lewis, M.D., for a

   mental health evaluation. See Doc. 1, ¶¶ 28-29, 31, 33.

7. Plaintiff alleges, during this assessment by a licensed professional counselor, Ms.

   Hanchett refused to inform LPC Myles-Henderson of any medications prescribed to

   her, including any psychotropic medications. See Doc. 1, ¶¶ 28-29, 31, 33.

8. Plaintiff alleges, between November 30 and December 3, 2022 Ms. Henderson was not

   evaluated or treated by any provider but goes on to state Ms. Hanchett was observed by

   three different LPNs during this timeframe, including LPN Kariuki observing Ms.

   Hanchett on December 1. See Doc. 1, ¶¶ 35, 38, 40, 42.

9. According to the Complaint, on December 4, a Sunday, LPC Myles-Henderson

   assessed Ms. Hanchett a second time and confirmed her previous treatment plan of

   continuing Ms. Hanchett on suicide watch with referrals to security and medical

   personnel capable of treating the condition, psychiatrist Jawaun Lewis, M.D. for a

   mental health evaluation, and also noted Ms. Hanchett “refused to interact with staff

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   and this provider” and was “not responding verbally” thereby continuing to impede the

   medical and mental health treatment provided to her. See Doc. 1, ¶¶ 43-48.

10. The Complaint provides, on that same Sunday, December 4, Ms. Hanchett was also

   observed by LPN Doto. See Doc. 1, ¶ 50.

11. According to the allegations in Plaintiff’s Complaint, LPC Myles-Henderson assessed

   Ms. Hanchett for a third time on December 5, when it was noted Ms. Hanchett

   continued to be on suicide watch and continued refused to respond. See Doc. 1, ¶¶ 51-

   52.

12. According to the Complaint, on December 5, Ms. Hanchett was observed by LPN Doto

   who noted Ms. Hanchett was eating an apple and later evaluated, again by LPN Doto,

   who attempted to take Ms. Hanchett’s vital signs but was unable to do so due to Ms.

   Hanchett’s refusal to receive medical treatment. See Doc. 1, ¶¶ 54; 57-59.

13. The Complaint provides, on December 6, Ms. Hanchett was observed by Jewel

   Johnson, LPN, who also noted Ms. Hanchett continued to refuse to respond to provider

   inquiries. See Doc. 1, ¶ 61.

14. According to the allegations contained in the Complaint, based on the referral made by

   LPC Myles-Henderson, on December 6, Ms. Hanchett was evaluated by higher-level

   medical personnel capable of treating the condition, non-defendant psychiatrist Jawaun

   Lewis, M.D., who performed a mental health evaluation. See Doc. 1, ¶¶ 63-64.

15. Plaintiff alleges, after completing the mental health evaluation, non-defendant Dr.

   Lewis made the determination and did not order Ms. Hanchett to be transferred to an

   outside facility to obtain a higher level of care. See Doc. 1, ¶¶ 63-64.

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16. Based on the allegations contained in the Complaint, during this mental health

   evaluation, Ms. Hanchett refused to inform Dr. Lewis of any medications prescribed to

   her, including any psychotropic medications. See Doc. 1, ¶¶ 63-64.

17. The Complaint provides, on December 6, LPN Hay again observed Ms. Hanchett and

   also noted she continued to refuse to respond to external stimuli. See Doc. 1, ¶ 65

18. According to the Complaint, on December 6, LPN Kariuki, again, attempted to

   complete Ms. Hanchett’s medical intake screening, but was still unable to complete it

   due to Ms. Hanchett’s continued refusal to receive medical attention or answer provider

   inquiries. See Doc. 1, ¶¶ 66; 69-70.

19. Plaintiff alleges LPN Kariuki rescheduled to attempt to complete Ms. Hanchett’s

   medical intake screening at another time and placed her back on suicide watch. See

   Doc. 1, ¶¶ 69-70; 72.

20. The Complaint provides, on December 7, LPN Kariuki again evaluated Ms. Hanchett,

   took her vitals, and noted she continued to refuse to answer provider questions. See

   Doc. 1, ¶¶ 73-76.

21. Plaintiff alleges, following this evaluation, LPN Kariuki contacted a higher-level

   provider and obtained orders from Nurse Practitioner Becky Pata to “give Gatorade

   BID x 5 days” and monitor Mrs. Hanchett drinking water. See Doc. 1, ¶ 76.

22. Based on the Complaint, this same day, Ms. Hanchett was cleared to move to medical

   housing and was assessed by LPC Myles-Henderson for a fourth time, who noted Ms.

   Hanchett had not reported any medication(s) prescribed to her, including any

   psychotropic medication. See Doc. 1, ¶¶ 77; 79-81.

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23. According to the allegations contained in the Complaint, by December 7, Ms. Hanchett

   had been assessed, evaluated, and/or observed, on at least seventeen (17) separate

   occasions, by at least seven (7) different providers but had only informed any provider

   she suffered from lupus and bipolar disorder but failed to report to any provider, at any

   time, of any medication(s) prescribed to her, including any psychotropic medication.

   See Doc. 1, ¶¶ 20-23; 28-29; 31; 38; 40; 42-46; 48; 50-52; 54; 57-59; 61; 63; 65-70; 73-

   75; 77; 79-81.

24. Plaintiff alleges, on December 8, Ms. Hanchett was observed unresponsive by LPN

   Doto who called 911 and attempted CPR, but Ms. Hanchett ultimately passed away.

   See Doc. 1, ¶¶ 85-86.

25. Plaintiff contends Ms. Hanchett died of heart failure with other significant conditions

   contributing to her death being psychosis with auditory and visual hallucinations and

   severe dehydration. See Doc. 1, ¶ 87.

26. Plaintiff does not allege LPC Myles-Henderson failed to provide care to Ms. Hanchett,

   rather to the contrary Plaintiff acknowledges, Ms. Hanchett was assessed by LPC

   Myles-Henderson four (4) separate times during her 10-day stay at CCJC. See Doc. 1,

   ¶¶ 28-29, 31, 33; 43-48; 51-52; 77; 79-81.

27. Plaintiff’s allegations, which must be taken as true, show Ms. Hanchett was receiving

   a consistent course of medical care and treatment during her stay at CCJC. Id.

28. Plaintiff’s allegations, which must be taken as true, show Ms. Hanchett was receiving

   medical care and treatment directly related to the specific harm alleged by Plaintiff to

   be a significant condition(s) contributing to Ms. Hanchett’s death. Id.

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29. While Plaintiff alleges the care and treatment provided to Ms. Hanchett was inadequate,

   Plaintiff has not alleged any specific acts and/or omissions of Defendant LPC Myles-

   Henderson which constitute an alleged act of deliberate indifference.

30. Plaintiff’s only claim against Defendant Diana Myles-Henderson, LPC is for deliberate

   indifference, not any other theory of liability. See Doc. 1 ¶¶ 254-257; 259.

31. Plaintiff has alleged Defendant LPC Myles-Henderson provided medical and health

   care services and medication to Ms. Hanchett while he was in the custody of the CCJC,

   by and through Turn Key’s contract with Cleveland County to provide medical care to

   inmates. See Doc. 1 ¶¶ 3-4.

                            ARGUMENT & AUTHORITIES

PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED FOR FAILURE TO STATE A CLAIM
UPON WHICH RELIEF CAN BE GRANTED

       Plaintiff fails to state a claim upon which relief may be granted. In considering a

motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a court must determine

whether the claimant has stated a claim upon which relief may be granted. The factual

allegations within the complaint “must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, (2007) (citations

omitted). Further, the complaint must contain “enough facts to state a claim to relief that is

plausible on its face.” Id. at 570. For a complaint to have facial plausibility, the plaintiff

must plead “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 1940

(2009). “[T]he mere metaphysical possibility that some plaintiff could prove some set of


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facts in support of the pleaded claims is insufficient; the complaint must give the court

reason to believe that this plaintiff has a reasonable likelihood of mustering factual support

of these claims.” Ridge at Red Hawk, L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir.

2007). A plaintiff’s “conclusory allegations without supporting factual averments are

insufficient to state a claim upon which relief can be based.” Hall v. Bellmon, 935 F.2d

1106, 1110 (10th Cir. 1991).

   1. Plaintiff has failed to allege facts sufficient to show LPC Myles-Henderson was
      deliberately indifferent to a substantial risk of serious harm to Ms. Hanchett.

       Plaintiff asserts claims specifically against Defendant Diana Myles-Henderson,

LPC arising under 42 U.S.C. § 1983 (hereinafter “§ 1983”) for the alleged violation of

Shannon Hanchett’s constitutional right to receive adequate health care in violation of the

Eighth and Fourteenth Amendments of the United States Constitution. See Doc. 1, ¶¶ 254-

257; 259. In order to state a cognizable claim under § 1983, “a prisoner must allege acts

or omissions sufficiently harmful to evidence deliberate indifference to serious medical

needs” that offend “‘evolving standards of decency’ in violation of the Eighth

Amendment” – not the result of mere negligence. Estelle v. Gamble, 429 U.S. 97, 105-06

(1976); Farmer v. Brennan, 511 U.S. 825, 826 (1994)(In order to “state a claim under §

1983, an individual must allege misconduct that is ‘so egregious as to subject the aggrieved

individual to a deprivation of constitutional dimensions.’”)

       “[I]n the medical context, an inadvertent failure to provide adequate medical care

cannot be said to constitute ‘an unnecessary and wanton infliction of pain’ or to be

‘repugnant to the conscience of mankind.’” Estelle, 429 U.S. at 105-06. Therefore, it is


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well established that negligence alone does not state a claim under § 1983 for deliberate

indifference to medial needs and, according to the Tenth Circuit, “negligent failure to

provide adequate medical care, even one constituting medical malpractice, does not give

rise to a constitutional violation.” Id. As such, the Tenth Circuit has repeatedly held

questions over a difference of opinion over the adequacy of medical treatment provided

sound in negligence and do not give rise to a claim of deliberate indifference. Duffield v.

Jackson, 545 F.3d 1234, 1239(10th Cir. 2008)(no deliberate indifference where inmate

received “repeated examinations”); Perkins v. Kan. Dep't of Corr., 165 F.3d 803 (10th Cir.

1999)(holding a "negligent failure to provide adequate medical care, even one constituting

medical malpractice, does not give rise to a constitutional violation”); Olson v. Stotts, 9

F.3d 1475 (10th Cir. 1993)(failure to transfer prisoner to receive treatment from heart

specialist not deliberate indifference); Ledoux v. Davies, 961 F.2d 1536, 1537 (10th Cir.

1992)(noting that types of medication prescribed and referrals to specialists are generally

matters of medical judgment, not deliberate indifference); El'Amin v. Pearce, 750 F.2d 829

(10th Cir. 1984)(denial of x-ray of lower back after physical altercation amounts to

difference of opinion between the plaintiff and the medical staff over the proper treatment

of his injuries and does not support claim of deliberate indifference); Ramos v. Lamm, 639

F.2d 559, 575 (10th Cir. 1980)(“negligent diagnosis or treatment of a medical condition

do[es] not constitute a medical wrong under the Eighth Amendment”); Jones v.

McCracken, 562 F.2d 22 (10th Cir. 1977)(differing opinions between providers as to

diagnosis and treatment provided to inmate do not rise to level of deliberate indifference);

Smart v. Villar, 547 F.2d 112 (10th Cir. 1976)(differences in opinions related to sick calls,

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examinations, diagnoses, and medication do not support claim of deliberate indifference);

Henderson v. Sec'y of Corr., 518 F.2d 694 (10th Cir. 1975); Paniagua v. Moseley, 451 F.2d

228 (10th Cir. 1971)(refusal to transfer inmate out for surgery recommended by outside

physician does not amount to deliberate indifference). The Tenth Circuit has even

specifically held “the prisoner's right is to medical care is not to the type or scope of medical

care which he personally desires. A difference of opinion between a physician and a patient

does not give rise to a constitutional right or sustain a claim under § 1983.” Coppinger v.

Townsend, 398 F.2d 392, 392-393 (10th Cir. 1968).

       These multiplicity of Tenth Circuit opinions are rooted in guidance from the

Supreme Court, which has firmly held a difference in opinion as to a matter of medical

judgment does not represent cruel and unusual punishment and cannot provide the basis

for an Eighth Amendment claim. Estelle, 429 U.S. at 104-106 (A complaint that a

correctional health care contractor has been negligent in diagnosing or treating a medical

condition does not state a valid claim of medical mistreatment under the Eighth

Amendment) (emphasis added). The Supreme Court explained support for this ruling is

rooted in the idea that an accident, although it may produce added anguish, is not, on that

basis alone, to be characterized as wanton infliction of unnecessary pain. Id. at 104-106.

Thus, the threshold for setting forth allegations that an inmate has been subject to cruel and

unusual punishment in any regard remains high and in order to prevail on a § 1983 claim,

a plaintiff “must show deliberate indifference to a substantial risk of serious harm.” Estelle,

429 U.S. at 105-06; Farmer, 511 U.S. at 837.

       Deliberate indifference requires analysis of two components (1) the objective

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component, which requires a showing that the deprivation was sufficiently serious and (2)

the subjective component, which is akin to “recklessness” as used in criminal law, and

requires a showing of the conscious disregard of the substantial risk of serious harm.

Estelle, 429 U.S. at 105-06; Farmer, 511 U.S. at 837. Therefore, the plaintiff must establish

the defendant “acted with a culpable state of mind,” as a defendant cannot be liable for a

claim of deliberate indifference unless it is shown the defendant knew of and disregarded

an excessive risk to inmate health and safety. Id. Defendant must specifically be shown to

have been, both, aware of facts from which the inference could be drawn that a substantial

risk of serious harm existed as to the individual, and it must be shown that defendant drew

that inference, therefore, consciously disregarding the individual’s health and safety to the

level of a sufficiently serious deprivation. Id.

       The Tenth Circuit has explained that case law firmly establishes “the subjective

component presents a high evidentiary hurdle to the plaintiffs” and “is not satisfied, absent

an extraordinary degree of neglect.” Self v. Crum, 439 F.3d 1227,1232 (10th Cir. 2006)

And further clarified a claim is only actionable and “conscious disregard” may be inferred

where the need for additional treatment or referral to a medical specialist is obvious and

the provider responds to an obvious risk with treatment that is patently unreasonable or

delays referral to a higher level of care. Self, 439 F.3d at 1232; Mata v. Saiz, 427 F.3d 745,

755 (10th Cir. 2005). But where a medical professional provides a level of care consistent

with the symptoms presented by the inmate an inference of deliberate indifference is

unwarranted, and the requisite state of mind cannot be met. Id. Importantly, this subjective

inquiry is limited to consideration of the medical provider’s actual knowledge of the

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symptoms displayed at the time care was provided, not the ultimate treatment necessary.

Mata, 427 F.3d at 755. Therefore, the question to determine whether the subjective

component has been met is: “were the symptoms such that a prison employee knew the

risk to the prisoner and chose (recklessly) to disregard it?” Id.

       Here, the alleged deprivation sustained by Ms. Hanchett was death due heart failure

with other significant conditions contributing to her death being psychosis with auditory

and visual hallucinations and severe dehydration. See Doc. 1, ¶ 87. There is no dispute that

death is sufficiently serious to satisfy the objective component. See Martinez v. Beggs, 563

F.3d 1082, 1088 (10th Cir. 2009). However, as outlined above, to satisfy the subjective

component, Plaintiff must show Defendant had knowledge of the specific risk faced by

Ms. Hanchett – i.e. the risk of imminent death facing Ms. Hanchett from heart failure – and

knowingly and willingly disregarded that risk to the level of sufficiently serious

deprivation. Estelle, 429 U.S. at 105-06 (1976); Farmer, 511 U.S. at 837.

       The Licensed Professional Counselors Act sets forth Licensed Professional

Counselors, such as LPC Myles-Henderson, are licensed to “prevent, diagnose, or treat

mental, emotional or behavioral disorders or associated distress which interfere with

mental health” and “conduct assessments or diagnoses for the purposes of establishing

treatment goals and objectives,” among other things. Okla. Stat. Ann. tit. 59, § 1902(3).

According to Plaintiff’s own allegations, during Ms. Hanchett’s 10-day stay at CCJC, she

was observed, evaluated, and/or assessed, on at least seventeen (17) separate occasions, by

at least seven (7) different providers and was specifically assessed by LPC Myles-

Henderson four (4) times. See Doc. 1, ¶¶ 20-23; 28-29; 31; 38; 40; 42-46; 48; 50-52; 54;

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57-59; 61; 63; 65-70; 73-75; 77; 79-81. More specifically, Plaintiff alleges, Ms. Hanchett,

while refusing to cooperate to complete the medical intake screening, did inform intake

personnel she suffered from bipolar disorder. See Doc. 1, ¶¶ 20-23. Plaintiff further alleges

Ms. Hanchett died due to due heart failure with other significant conditions contributing to

her death being psychosis with auditory and visual hallucinations and severe dehydration.

See Doc. 1, ¶ 87. In order to satisfy the subjective component of deliberate indifference,

the question must be asked: Has Plaintiff set forth facts sufficient to allege LPC Myles-

Henderson knew of the risk that Ms. Hanchett’s self-provided diagnosis of bipolar disorder

could cause or did cause psychosis with auditory and visual hallucinations that could have

significantly contributed to her heart failing and LPC Myles-Henderson chose to recklessly

disregard it? Mata, 427 F.3d at 755. The answer to this is no and the requisite state of mind

cannot be met because, based on the alleged symptoms Ms. Hanchett presented at the time,

LPC Myles-Henderson provided a level of care consistent with Ms. Hanchett’s

presentation and also referred Ms. Hanchett to a higher level of care. Specifically, upon her

initial assessment of Ms. Hanchett, LPC Myles-Henderson allegedly created and drafted a

specific treatment plan which involved (1) placing Ms. Hanchett on suicide watch “for her

own protection. . .;” (2) referring her to security based on Mrs. Hanchett’s “threat to herself

and others due to her defiance;” and (3) referring her to higher-level medical personnel

capable of treating the condition, non-defendant psychiatrist Jawaun Lewis, M.D., for a

mental health evaluation. See Doc. 1, ¶ 28-29; 31. Following this initial assessment, LPC

Myles-Henderson continued to provide care to Ms. Hanchett and assessed her for a total

of, at least, four (4) times over ten days. See Doc. 1, ¶¶ 28-29; 31; 43-42-48; 51-52; 79-81.

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Further, according to Plaintiff’s allegations and with reasonable inferences therefrom, as a

result of the referral made by LPC Myles-Henderson to a higher-level provider Ms.

Hanchett was assessed by non-defendant Dr. Lewis on December 6, who made the

determination Ms. Hanchett did not require an order to be transferred out of CCJC to

receive a higher level of care. See Doc. 1, ¶¶ 63-64; Okla. Admin. Code § 310:670-5-8(2).

       Plaintiff’s own allegations demonstrate LPC Myles-Henderson did not consciously

disregard Ms. Hanchett or respond to an obvious risk with treatment that is patently

unreasonable nor did LPC Myles-Henderson delay in providing a referral to a higher-level

provider. Self v. Crum, 439 F.3d at 1232-33; Mata, 427 F.3d at 755. Rather, the exact

opposite, in that, LPC Myles-Henderson provided a level of care consistent with Ms.

Hanchett’s presentation and symptoms at the time of her assessments which the Tenth

Circuit has expressly stated makes an inference of deliberate indifference unwarranted. Id.

Similarly, such acts satisfied any “gatekeeper” responsibilities of LPC Myles-Henderson,

as she referred Ms. Hanchett to a psychiatrist who Plaintiff alleges encountered and

examined her. See Doc. 1, ¶¶ 63-64; Mata, 427 F.3d at 755.

       Based on the allegations in the Complaint, even when taken in light most favorable

to Plaintiff, Plaintiff has failed to properly plead LPC Myles-Henderson knew of and

disregarded a serious risk of harm facing Ms. Hanchett. Plaintiff does not allege Ms.

Hanchett was denied care, or even that Ms. Hanchett medical condition was ignored by

LPC Myles-Henderson. Simply, Plaintiff disagrees with the care and treatment that was

provided to Ms. Hanchett alleging such was inadequate and negligent. However, as

outlined by the multitudinous authorities above, these claims are not actionable under §

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1983 and; therefore, must be dismissed pursuant to Federal Rule of Civil Procedure

12(b)(6), for failure to state a claim upon which relief can be granted.

   2. LPC Myles-Henderson is immune from Plaintiff’s state law tort claims under
      the Oklahoma Governmental Tort Claims Act and such are barred by the
      applicable statute of limitations.
      To the extent Paragraph Nos. 279-286 are intended to set forth a negligence claim

against LPC Myles-Henderson individually, such claim must also fail. Given the factual

allegations pled in Plaintiff’s Complaint, under Oklahoma’s Governmental Tort Claims

Act (“GTCA”), Turn Key is considered an “employee” of the state and immune from

liability for tort claims. Section 152.1 of Title 51 of the Oklahoma Statutes provides:

               The State of Oklahoma does hereby adopt the doctrine of sovereign
               immunity. The state, its political subdivisions, and all of their
               employees acting within the scope of their employment, whether
               performing governmental or proprietary functions, shall be immune
               from liability for torts.
Okla. Stat. Ann. tit. 51, § 152.1(A). The GTCA goes on to state, “licensed medical

professionals under contract with the city, county, or state entities who provide medical

care to inmates or detainees in the custody or control of law enforcement agencies’ – such

as LPC Myles-Henderson – are considered “employees of the state” for purposes of the

GTCA. Okla. Stat. Ann. tit. 51, § 152(b)(7). The Oklahoma Supreme Court has explicitly

extended such immunity to a jail’s health care contractor such as Turn Key and their

employees. Barrios v. Haskell Cty. Pub. Facilities Auth., 2018 OK 90, ¶ 5, 432 P.3d 233.

Many courts facing this same question has arrived at the correct conclusion that

correctional health care contractors such as Turn Key, Correctional Healthcare Companies

(“CHC”), Armor, and their employees are classified as an “employee” under the GTCA


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and, therefore, protected by its provisions. Thompson v. Norman Reg’l Hosp., CIV-19-113-

SLP (W.D. Okla. Mar. 11, 2020); Espinosa Hernandez v. Armor Corr. Health Serv’s., Inc.,

2019 WL 3069430, *8 (W.D. Okla. Mar. 11, 2020) (dismissing Plaintiff’s state law claims

of negligence based on Armor’s immunity under the GTCA); Thompson v. Turn Key

Health Clinics, LLC, 5:19-CV-00113-SLP, (W.D. Okla. March 11, 2020) (Dismissing

Plaintiff’s negligence claims against Turn Key based upon the immunity under to GTCA,

as provided for in Barrios)(emphasis added); Holland v. Glanz, No. 16-CV-349-JED-JFJ,

2019 WL 4781869, at *7 (N.D. Okla. Sept. 30, 2019); Birdwell v. Glanz, Case No. 15-CV-

304-TCK-FHM (N.D. Okla. Mar. 12, 2019) (citing Okla. Stat. tit. 51, §§ 152(14) and

155(25)); Strain v. Armor Corr. Health Care Serv’s., Inc., No. 19-CV-527-JED-FHM,

2020 WL 5026548 (N.D. Okla. Aug. 25, 2020)(Dismissing defendant’s state law

negligence claims on grounds that Armor is immune from liability under the GTCA);

Crocker v. Armor Corr. Health Serv’s, Inc., No. 17- CV-149-TCK-FHM, 2019 WL

2146595, *4 (N.D. Okla. May 16, 2019)(“Pursuant to . . .Barrios, the Court concludes that

the Oklahoma GTCA immunity provisions apply to Armor and its employees, who are

therefore exempt from tort liability for Plaintiffs’ negligence claim . . .”); Bradshaw v.

Armor Corr. Health Serv’s., Inc., No. 17-CV-615-TCK-FHM, 2019 WL 1675148, *7

(N.D. Okla. April 17, 2019) (finding the GTCA’s immunity provisions apply to Armor and

its employees for state law tort claims); Prince v. Turn Key Health Clinics, LLC, No. 18-

CV-282-CVE-JFJ, 2019 WL 238153, *9 (N.D. Okla. Jan 16, 2019) (dismissing Plaintiff’s

state law claims of negligence based on Armor and Turn Key's immunity under the GTCA);

Burke v. Regalado, 2019 WL 1371144, *2 (N.D. Okla. Mar. 26, 2019) (dismissing

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Plaintiff’s state law claims of negligence based on Armor’s employees’ immunity pursuant

to Barrios and the GTCA). Most importantly, Oklahoma Supreme Court’s ruling has been

straightforwardly and unequivocally affirmed by the Oklahoma Court of Civil Appeals

(“COCA”), which likewise acts to reaffirm the voluminous aforementioned opinions as

correct interpretations of the law and precedent that must be followed. Nayebyazdi v. Turn

Key, Case No. 119,652, p. 8-9 (OK CIV APP Oct. 14, 2021).

       To reiterate, according to the GTCA immunity provisions, state actors are exempt

as a matter of law from liability for tort claims, such as those arising out of "[p]rovision,

equipping, operation or maintenance of any prison, jail or correctional facility." Okla. Stat.

tit. 51, § 155(25). Pursuant to the Section 155(25) exemption, LPC Myles-Henderson

cannot be held liable for any tort claim that arise out of its regular duties of providing

medical services to inmates at CCJC, including Ms. Hanchett. Therefore, to the extent

Plaintiff has set forth a negligence claim against LPC Myles-Henderson, such claims must

be dismissed at this time pursuant to Federal Rule of Civil Procedure 12(b)(6) as LPC

Myles-Henderson is entitled to tort immunity under the GTCA – in accordance with the

opinion of the Oklahoma Supreme Court subsequently affirmed by COCA. See Barrios,

432 P.3d 233 at ¶ 18; Nayebyazdi, Case No. 119,652 at p. 8-9. To the extent this Court

declines to extend immunity as to Plaintiff’s state law claim of negligence or wrongful

death, this claim must still be dismissed as it is barred by the applicable statute of

limitations. Okla. Stat. Ann. tit. 12, § 95(A)(11).

                                      CONCLUSION

       Plaintiff’s Complaint is properly dismissed pursuant to Federal Rule of Civil

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Procedure 12(b)(6), as Plaintiff has failed to allege facts sufficient to support a claim of

deliberate indifference as to Defendant LPC Myles-Henderson. Further, to the extent such

a claim is being made, Defendant LPC Myles-Henderson is immune from any state law

claim of negligence/wrongful death pursuant to the GTCA and such claims are barred by

the applicable statute of limitations. Therefore, dismissal of Plaintiff’s claims against

Defendant LPC Myles-Henderson is appropriate at this time.

       WHEREFORE, Defendant Diana Myles-Henderson, LPC prays this Court grant

this Motion and dismiss this action in its entirety.

                                               Respectfully submitted,


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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of February, 2024, I electronically transmitted
the attached document to the Clerk of Court using the ECF System. Based on the records
currently on file in this case, the Clerk of Court will transmit a Notice of Electronic Filing
to those registered participants of the ECF System.

                                                  /s/ Meilani C. Kaaihue
                                                  Meilani C. Kaaihue




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